                                     Schedule 3

                        MIO Connections to Interested Parties




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                                     MIO Connections to Interested Parties1

      Interested Party Name                          MIO Connection Name                                Connection Type
1.    21st Century Casualty Company                  Zurich American Insurance Company                  Vendor
      21st Century Insurance Company
2.    Accenture                                      Kogentix, Inc.                                     Vendor
3.    ACE American Insurance Company                 Chubb Bermuda Insurance Ltd                        Vendor
4.    ADP Inc.                                       Banc of America Securities LLC                     Counterparty
5.    AECOM Technical Services Inc.                  RSW Consulting Inc.                                Vendor
6.    Aegon Asset Management                         Aegon-related Securities                           Investment
7.    AGCS Marine Insurance Company                  Industrial and Commercial Bank of China            Counterparty
                                                     Industrial and Commercial Bank of China            Counterparty
                                                     Financial Services LLC
                                                     Pacific Investment Management Company,             Investment
                                                     LLC
                                                     PIMCO                                              Investment
                                                     PIMCO Commodity Alpha Fund LLC                     Investment
                                                     PIMCO Dynamic Credit                               Investment
                                                     PIMCO Global Inflation Linked Bond Fund            Investment
                                                     Ltd.
8.    AIG Property Casualty Company                  AIG-related Securities                             Investment
                                                     Flagstone Reinsurance Holdings Limited             Investment
                                                     Illinois National Insurance Company (AIG)          Vendor
                                                     United States Life Insurance Company in the        Vendor
                                                     City of NY
9.    AIG Specialty Insurance Company                AIG-related Securities                             Investment
                                                     Flagstone Reinsurance Holdings Limited             Investment
                                                     Illinois National Insurance Company (AIG)          Vendor
                                                     United States Life Insurance Company in the        Vendor
                                                     City of NY
10.   Airgas Specialty Products                      Airgas USA, LLC                                    Vendor
      Airgas USA LLC




      1
              Where MIO was not able to confirm whether an entity on the Expanded Interested Party List was, in fact,
      the same entity to which MIO has a connection, MIO included such possible connections in its report to the
      Proposed Professionals.


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      Interested Party Name                     MIO Connection Name                           Connection Type
11.   Algonquin Power Sanger LLC                Franklin Power LLC                            Investment
      Algonquin SKIC Solar 20 Solar LLC

12.   Allianz Global Corporate & Specialty      Industrial and Commercial Bank of China       Counterparty
      Allianz Global Risks US Insurance         Industrial and Commercial Bank of China       Counterparty
      Company                                   Financial Services LLC
                                                Pacific Investment Management Company,        Investment
                                                LLC
                                                PIMCO                                         Investment
                                                PIMCO Commodity Alpha Fund LLC                Investment
                                                PIMCO Dynamic Credit                          Investment
                                                PIMCO Global Inflation Linked Bond Fund       Investment
                                                Ltd.
13.   Amec Foster Wheeler Environment &         QED Resources, Inc.                           Vendor
      Infrastructure Inc.
14.   Amerex Brokers LLC                        BGC European Holdings LP                      Vendor
                                                BGC Partners, Inc.                            Vendor
                                                GFI Holdings                                  Counterparty
                                                GFI Securities Limited                        Counterparty
15.   American Automobile Insurance Company     Industrial and Commercial Bank of China       Counterparty
                                                Industrial and Commercial Bank of China       Counterparty
                                                Financial Services LLC
                                                Pacific Investment Management Company,        Investment
                                                LLC
                                                PIMCO                                         Investment
                                                PIMCO Commodity Alpha Fund LLC                Investment
                                                PIMCO Dynamic Credit                          Investment
                                                PIMCO Global Inflation Linked Bond Fund       Investment
                                                Ltd.
16.   American General Insurance Company dba    AIG-related Securities                        Investment
      ANPAC General Insurance Company           Flagstone Reinsurance Holdings Limited        Investment
                                                Illinois National Insurance Company (AIG)     Vendor
                                                United States Life Insurance Company in the   Vendor
                                                City of NY




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      Interested Party Name                      MIO Connection Name                           Connection Type
17.   American Guarantee & Liability Insurance   Zurich American Insurance Company             Vendor
      Company
18.   American Home Assurance Company            AIG-related Securities                        Investment
                                                 Flagstone Reinsurance Holdings Limited        Investment
                                                 Illinois National Insurance Company (AIG)     Vendor
                                                 United States Life Insurance Company in the   Vendor
                                                 City of NY
19.   American Insurance Company                 Industrial and Commercial Bank of China       Counterparty
                                                 Industrial and Commercial Bank of China       Counterparty
                                                 Financial Services LLC
                                                 Pacific Investment Management Company,        Investment
                                                 LLC
                                                 PIMCO                                         Investment
                                                 PIMCO Commodity Alpha Fund LLC                Investment
                                                 PIMCO Dynamic Credit                          Investment
                                                 PIMCO Global Inflation Linked Bond Fund       Investment
                                                 Ltd.
20.   American International Reinsurance         AIG-related Securities                        Investment
      Company Ltd                                Flagstone Reinsurance Holdings Limited        Investment
                                                 Illinois National Insurance Company (AIG)     Vendor
                                                 United States Life Insurance Company in the   Vendor
                                                 City of NY
21.   American Messaging Services LLC            SkyTel                                        Vendor
22.   American Zurich Insurance Company          Zurich American Insurance Company             Vendor
23.   Angelo Gordon & Co LP                      Prudential Financial, Inc.                    Counterparty
24.   Apollo Global Management LLC               Apollo Global Management, LLC                 Investment
25.   Argo                                       Argonaut Insurance Co.                        Vendor
      Argo International Holdings Limited
      Argo Re Ltd
      Argonaut Insurance Company
26.   Associated Indemnity Corporation           Industrial and Commercial Bank of China       Counterparty
                                                 Industrial and Commercial Bank of China       Counterparty
                                                 Financial Services LLC
                                                 Pacific Investment Management Company,        Investment
                                                 LLC



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      Interested Party Name               MIO Connection Name                           Connection Type
                                          PIMCO                                         Investment
                                          PIMCO Commodity Alpha Fund LLC                Investment
                                          PIMCO Dynamic Credit                          Investment
                                          PIMCO Global Inflation Linked Bond Fund       Investment
                                          Ltd.
27.   AT&T Corp                           AT&T Mobility                                 Vendor
      AT&T Mobility II LLC
      AT&T Network

28.   Bank of America                     ABN AMRO Clearing Chicago LLC                 Counterparty
                                          Bank of America Merrill Lynch                 Counterparty
                                          Bank of America, N.A.                         Counterparty
                                          BofA Securities Inc.                          Counterparty
                                          BofA Securities LLC                           Counterparty
                                          BofA-related Securities                       Investment
                                          Merrill Lynch                                 Counterparty
                                          Merrill Lynch & Co., Inc.                     Counterparty
                                          Merrill Lynch Capital Services, Inc.          Counterparty
                                          Merrill Lynch Financial Markets, Inc.         Counterparty
                                          Merrill Lynch Government Securities Inc.      Counterparty
                                          and/or Merrill Lynch Pierce, Fenner & Smith
                                          Inc.
                                          Merrill Lynch International                   Counterparty
                                          Merrill Lynch Professional Clearing Corp.     Counterparty
                                          Merrill Lynch, Pierce, Fenner & Smith         Counterparty
                                          Incorporated                                  Vendor
29.   Bank of New York Mellon             Bank of New York                              Counterparty
                                          Bank of New York Mellon                       Counterparty
                                          BNY Mellon                                    Counterparty
                                          BNY Mellon Asset Servicing                    Counterparty
                                          Mellon Bank, N.A.                             Counterparty
                                          Mellon Capital Management Corporation         Investment
                                          Pershing LLC                                  Counterparty
                                          The Bank of New York Mellon                   Counterparty




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      Interested Party Name                     MIO Connection Name                     Connection Type
                                                The Bank of New York Mellon, New York   Counterparty
30.   Bankers Standard Insurance Company        Chubb Bermuda Insurance Ltd             Vendor
31.   Barclays Bank PLC                         Barclays Bank PLC                       Counterparty
                                                Barclays Bank Plc Wholesale London      Counterparty
                                                Barclays Capital Inc.                   Counterparty
                                                Barclays Capital Securities Limited     Counterparty
                                                Barclays Capital Securities Limited     Counterparty
                                                Deutsche Bank AG                        Counterparty
                                                Ernst & Young                           Vendor
32.   Barclays Capital Inc.                     Barclays Bank PLC                       Counterparty
                                                Barclays Bank Plc Wholesale London      Counterparty
                                                Barclays Capital Inc.                   Counterparty
                                                Barclays Capital Securities Limited     Counterparty
                                                Deutsche Bank AG                        Counterparty
                                                Ernst & Young                           Vendor
33.   Barclays Global                           Barclays Bank PLC                       Counterparty
                                                Barclays Capital Inc.                   Counterparty
                                                Barclays Capital Securities Limited     Counterparty
                                                Barclays Global Investors               Investment
34.   BGC Environmental Brokerage Services      BGC European Holdings LP                Vendor
      LP                                        BGC Partners, Inc.                      Vendor
                                                GFI HOLDINGS                            Counterparty
                                                GFI Securities Limited                  Counterparty
35.   BlackRock Fund Advisors                   Barclays Global Investors               Investment
                                                Blackrock Corporate High Yield Fund     Investment
                                                BlackRock Russell 3000 Index Fund       Investment
                                                Blackrock TIPS                          Investment
                                                Blackrock, Inc.                         Vendor
                                                Blackrock, Inc.                         Counterparty
                                                Blackrock Debt Strategies Fund          Investment
                                                Deutsche Bank AG                        Counterparty
36.   BNP Paribas                               BNP Paribas                             Counterparty
                                                BNP Paribas Asset Management USA Inc.   Investment


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      Interested Party Name                          MIO Connection Name                           Connection Type
                                                     BNP Paribas Collateral Management             Counterparty
                                                     BNP Paribas London                            Counterparty
                                                     BNP Paribas Securities Services               Counterparty
37.   BNP Paribas Securities Corp                    BNP Paribas                                   Counterparty
      BNP Paribas US                                 BNP Paribas Asset Management USA Inc.         Investment
                                                     BNP Paribas Equities France SA                Counterparty
                                                     BNP Paribas London                            Counterparty
                                                     BNP Paribas Prime Brokerage, Inc.             Counterparty
                                                     BNP Paribas Securities Services               Counterparty
                                                     Cardiff                                       Vendor
                                                     Fischer Francis Trees & Watts                 Investment
38.   Bright House Networks LLC                      Spectrum (Time Warner Cable)                  Vendor
39.   Canon Solutions America Inc.                   Canon                                         Vendor
                                                     SED, Inc.                                     Vendor
40.   Canopius Managing Agents Limited               Endurance American Insurance Company          Vendor
                                                     (Old Republic / Sompo)
41.   Cargill Inc.                                   Cargill, Incorporated                         Counterparty
      Cargill Ltd
      Cargill Power Markets LLC
      CarVal Investors
42.   Catlin Specialty Insurance Company             AXA-related Securities                        Investment
43.   Certain affiliates of American International   AIG-related Securities                        Investment
      Group Inc.                                     Flagstone Reinsurance Holdings Limited        Investment
                                                     Illinois National Insurance Company (AIG)     Vendor
                                                     United States Life Insurance Company in the   Vendor
                                                     City of NY
44.   Charter Communications                         Spectrum (Time Warner Cable)                  Vendor
45.   Chubb Bermuda Insurance Ltd                    Chubb Bermuda Insurance Ltd                   Vendor
      Chubb Custom Insurance Company


46.   Chubb Group                                    Chubb Atlantic                                Vendor
                                                     Chubb Bermuda Insurance Ltd                   Vendor
47.   Chubb Insurance Company of New Jersey          Chubb Bermuda Insurance Ltd                   Vendor
      Chubb National Insurance Company



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      Interested Party Name                    MIO Connection Name                         Connection Type
48.   Citadel Advisors LLC                     Citadel Investment Group, LLC               Investment
                                               Citadel Securities                          Counterparty
49.   Citibank NA                              Citibank Europe PLC                         Counterparty
                                               Citibank NA Moscow                          Counterparty
                                               Citibank NA New York NY                     Counterparty
                                               Citibank, N.A.                              Vendor
                                               Citibank, N.A.                              Counterparty
                                               Citigroup Global Markets Inc.               Counterparty
                                               Citigroup Global Markets Limited            Counterparty
                                               State Street Bank and Trust Company         Counterparty
50.   Citigroup                                Citibank Europe PLC                         Counterparty
      Citigroup Energy Inc.                    Citibank NA New York NY                     Counterparty
      Citigroup Global Markets                 Citibank, N.A.                              Counterparty
                                               Citigroup Global Markets Inc.               Counterparty
                                               Citigroup Global Markets Limited            Counterparty
                                               State Street Bank and Trust Company         Counterparty
51.   Civic Property & Casualty Company        Zurich American Insurance Company           Vendor
52.   CNA Insurance Company                    Continental Casualty Company                Vendor
53.   Concur                                   SAP                                         Vendor
54.   Continental Casualty Company             Continental Casualty Company                Vendor
      Continental Insurance Company
55.   Credit Suisse Energy LLC                 BEA Associates/BEA Institutional Funds      Investment
                                               Credit Suisse                               Vendor
                                               Credit Suisse AG                            Counterparty
                                               Credit Suisse AG London                     Counterparty
                                               Credit Suisse AG, Cayman Islands Branch     Counterparty
                                               Credit Suisse First Boston                  Counterparty
                                               Credit Suisse International                 Counterparty
                                               Credit Suisse London Nominees               Counterparty
                                               Credit Suisse Luxembourg                    Counterparty
                                               Credit Suisse Securities (Europe) Limited   Counterparty
                                               Credit Suisse Securities USA LLC            Counterparty
                                               Ospraie Management, LLC                     Investment



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      Interested Party Name                 MIO Connection Name                          Connection Type
56.   Crown Castle                          Crown Castle Fiber LLC (Formerly             Vendor
                                            Lightower Fiber Networks)
57.   DB Energy Trading                     Deutsche Bank AG, London Branch              Counterparty
                                            Deutsche Bank AG                             Counterparty
                                            Deutsche Bank AG London                      Counterparty
                                            Deutsche Bank AG, New York                   Counterparty
                                            Deutsche Bank AG, Seoul Branch               Counterparty
                                            Deutsche Bank S.A.                           Counterparty
                                            Deutsche Bank S.A. - Banco Alemao            Counterparty
                                            Deutsche Bank Securities, Inc.               Counterparty
                                            Deutsche Bank Trust Company                  Counterparty
                                            Deutsche Bank Trust Company Americas         Counterparty
                                            FTSE 100 Futures                             Investment
                                            FTSE CHINA A50                               Investment
                                            FTSE/MIB Index Futures                       Investment
                                            Northern Trust International Fund            Vendor
                                            Administration Services (Guernsey) Limited
                                            Société Générale                             Vendor
                                            Deutsche Bank Trust Company Americas         Vendor
                                            Tableau Software                             Vendor
                                            The Bank of New York Mellon                  Counterparty
                                            Société Générale                             Counterparty
                                            Deutsche Bank Trust Company Americas         Counterparty
                                            The World Markets Company Plc                Vendor
                                            TradeWeb                                     Vendor
58.   DDB Worldwide Communications Group    Washington Speakers Bureau Inc.              Vendor
59.   Dell Financial Services LLC           Dell                                         Vendor
                                            EMC                                          Vendor
                                            EMC Corporation                              Vendor
                                            VMware                                       Vendor
60.   Deloitte & Touche LLP                 Deloitte & Touche                            Vendor
                                            Deloitte GmbH                                Vendor
61.   Deutsche Bank                         Deutsche Bank AG, London Branch              Counterparty



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      Interested Party Name                       MIO Connection Name                          Connection Type
      Deutsche Bank National Trust Company        Deutsche Bank AG                             Counterparty
      Deutsche Bank Securities Inc.               Deutsche Bank AG London                      Counterparty
      Deutsche Bank Trust Company Americas
                                                  Deutsche Bank AG, New York                   Counterparty
                                                  Deutsche Bank AG, Seoul Branch               Counterparty
                                                  Deutsche Bank S.A.                           Counterparty
                                                  Deutsche Bank S.A. - Banco Alemao            Counterparty
                                                  Deutsche Bank Securities, Inc.               Counterparty
                                                  Deutsche Bank Trust Company                  Counterparty
                                                  Deutsche Bank Trust Company Americas         Counterparty
                                                  FTSE 100 Futures                             Investment
                                                  FTSE CHINA A50                               Investment
                                                  FTSE/MIB Index Futures                       Investment
                                                  Northern Trust International Fund            Vendor
                                                  Administration Services (Guernsey) Limited
                                                  Société Générale                             Vendor
                                                  Deutsche Bank Trust Company Americas         Vendor
                                                  Tableau Software                             Vendor
                                                  The Bank of New York Mellon                  Counterparty
                                                  Société Générale
                                                  Deutsche Bank Trust Company Americas
                                                  The World Markets Company Plc                Vendor
                                                  TradeWeb                                     Vendor
62.   El Dorado Hydro LLC                         Cogent Energy                                Investment
63.   Endurance American Specialty Insurance      Endurance American Insurance Company         Vendor
      Company                                     (Old Republic / Sompo)
64.   Endurance Risk Solutions Assurance Co       Endurance American Insurance Company         Vendor
      Endurance Specialty Insurance Company       (Old Republic / Sompo)


65.   Enel Green Power North America Inc.         Cogent Energy                                Investment
      Enel X
66.   Ernst                                       Ernst & Young                                Vendor
                                                  Ernst & Young AG                             Vendor
67.   Extenet System                              Hudson Fiber                                 Vendor




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      Interested Party Name                      MIO Connection Name                       Connection Type
68.   Farmers Entities                           Zurich American Insurance Company         Vendor
      Farmers Insurance Company of
      Washington
      Farmers Specialty Insurance Company
69.   Federal Insurance Company                  Chubb Bermuda Insurance Ltd               Vendor
70.   Fidelity & Deposit Company of Maryland     Zurich American Insurance Company         Vendor
71.   Fidelity Management & Research             Fidelity Investments                      Investment
      Company                                    Fidelity Custody                          Vendor
      Fidelity Management Trust Company
                                                 National Financial Services, LLC          Counterparty
72.   Fire Insurance Exchange                    Zurich American Insurance Company         Vendor
73.   Fireman’s Fund Insurance Company           Industrial and Commercial Bank of China   Counterparty
                                                 Industrial and Commercial Bank of China   Counterparty
                                                 Financial Services LLC
                                                 Pacific Investment Management Company,    Investment
                                                 LLC
                                                 PIMCO                                     Investment
                                                 PIMCO Commodity Alpha Fund LLC            Investment
                                                 PIMCO Dynamic Credit                      Investment
                                                 PIMCO Global Inflation Linked Bond Fund   Investment
                                                 Ltd.
74.   Forefront Power LLC                        IPM                                       Vendor
75.   Foremost Insurance Company Grand           Zurich American Insurance Company         Vendor
      Rapids Michigan
      Foremost Property and Casualty Insurance
      Company
      Foremost Signature Insurance Company
76.   Fortis Energy Marketing                    BNP Paribas                               Counterparty
                                                 BNP Paribas Asset Management USA Inc.     Investment
                                                 BNP Paribas Equities France SA            Counterparty
                                                 BNP Paribas London                        Counterparty
                                                 BNP Paribas Prime Brokerage, Inc.         Counterparty
                                                 BNP Paribas Securities Services           Counterparty
                                                 Cardiff                                   Vendor
                                                 Fischer Francis Trees & Watts             Investment




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      Interested Party Name                      MIO Connection Name                           Connection Type
77.   Foster Wheeler Martinez Inc.               QED Resources, Inc.                           Vendor
78.   Frito-Lay Inc.                             Walkers                                       Vendor
79.   Garrison Property and Casualty Insurance   USAA Investment Management Company            Investment
      Company
80.   Garrison Property and Casualty Insurance   USAA Tax-Exempt Short-Term Fund               Investment
      Company
81.   GCube Insurance Services Inc.              Mercer (US) Inc.                              Vendor
82.   General Casualty Company of Wisconsin      QBE Insurance Corporation                     Vendor
83.   GFI Brokers LLC                            BGC European Holdings LP                      Vendor
      GFI Securities LLC                         BGC Partners, Inc.                            Vendor
                                                 GFI HOLDINGS                                  Counterparty
                                                 GFI Securities Limited                        Counterparty
84.   Golden State Towers                        Crown Castle Fiber LLC (Formerly              Vendor
                                                 Lightower Fiber Networks)
                                                 Sidera (now, Lightower Fiber Networks)        Vendor
85.   Goldman Sachs & Co. LLC                    Centaurus Advisors LLC                        Investment
      Goldman Sachs Bank USA                     FIS Investment Systems, LLC (formerly         Vendor
                                                 Sungard)
                                                 Genesis Capital                               Investment
                                                 Goldman Sachs & Co. LLC                       Counterparty
                                                 Goldman Sachs & Company                       Investment
                                                 Goldman Sachs Bank USA                        Counterparty
                                                 Goldman Sachs International                   Counterparty
                                                 Goldman, Sachs & Co.                          Counterparty
                                                 Industrial and Commercial Bank of China       Counterparty
                                                 Industrial and Commercial Bank of China       Counterparty
                                                 Financial Services LLC
                                                 The Goldman Sachs Group, Inc.                 Counterparty
86.   Granite State Insurance Company            AIG-related Securities                        Investment
                                                 Flagstone Reinsurance Holdings Limited        Investment
                                                 Illinois National Insurance Company (AIG)     Vendor
                                                 United States Life Insurance Company in the   Vendor
                                                 City of NY
87.   Great Northern Insurance Company           Chubb Bermuda Insurance Ltd                   Vendor



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       Interested Party Name                      MIO Connection Name                       Connection Type
88.    Hartford Accident & Indemnity Company      Hartford-related Securities               Investment
       Hartford Casualty Insurance Company
       Hartford Underwriters Insurance Company
89.    HSBC Bank plc                              HSBC Bank PLC                             Counterparty
90.    Icap                                       ICAP Electronic Broking LLC               Counterparty
91.    Icap Capital Markets Inc.                  Tullett Prebon Group Ltd.                 Vendor
       ICAP Energy LLC
92.    ICE                                        ICE Data Derivatives Inc. (former Super   Vendor
                                                  Derivatives)
                                                  ICE eConfirm LLC                          Vendor
93.    ICE NGX Canada Inc.                        ICE Data Derivatives Inc.(former Super    Vendor
                                                  Derivatives)
                                                  NYSE                                      Vendor
94.    Illinois Union Insurance Company           Chubb Bermuda Insurance Ltd               Vendor
       Indemnity Insurance Company of North
       America
95.    Intercontinental Exchange Inc.             IntercontinentalExchange, Inc.            Counterparty
96.    International Business Machines Corp       ACI Management, Ltd.                      Investment
                                                  Diligent                                  Vendor
                                                  Red Hat                                   Vendor
97.    Interstate Fire & Casualty Company         Industrial and Commercial Bank of China   Counterparty
                                                  Industrial and Commercial Bank of China   Counterparty
                                                  Financial Services LLC
                                                  Pacific Investment Management Company,    Investment
                                                  LLC
                                                  PIMCO                                     Investment
                                                  PIMCO Commodity Alpha Fund LLC            Investment
                                                  PIMCO Dynamic Credit                      Investment
                                                  PIMCO Global Inflation Linked Bond Fund   Investment
                                                  Ltd.
98.    Ireland                                    Colligo                                   Vendor
99.    Iron Mountain                              Iron Mountain                             Vendor
       Iron Mountain Information Management
       LLC
100.   J Aron & Company LLC                       Centaurus Advisors LLC                    Investment



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       Interested Party Name                   MIO Connection Name                       Connection Type
                                               FIS Investment Systems, LLC (formerly     Vendor
                                               Sungard)
                                               Genesis Capital                           Investment
                                               Goldman Sachs & Co. LLC                   Counterparty
                                               Goldman Sachs & Company                   Investment
                                               Goldman Sachs Bank USA                    Counterparty
                                               Goldman Sachs International               Counterparty
                                               Goldman, Sachs & Co.                      Counterparty
                                               Industrial and Commercial Bank of China   Counterparty
                                               Industrial and Commercial Bank of China   Counterparty
                                               Financial Services LLC
                                               The Goldman Sachs Group, Inc.             Counterparty
101.   John Crane Inc.                         EMC                                       Vendor
                                               EMC Corporation                           Vendor
102.   JP Morgan Chase Bank NA                 Industrial and Commercial Bank of China   Counterparty
       JP Morgan Securities LLC                Industrial and Commercial Bank of China   Counterparty
       JP Morgan Ventures Energy Corporation   Financial Services LLC
                                               J.P. Morgan AG                            Counterparty
                                               J.P. Morgan Asset Management              Investment
                                               J.P. Morgan Clearing Corp.                Counterparty
                                               J.P. Morgan Futures Inc.                  Counterparty
                                               J.P. Morgan Prime Inc.                    Counterparty
                                               J.P. Morgan Securities Inc.               Counterparty
                                               J.P. Morgan Securities LLC                Counterparty
                                               J.P. Morgan Securities PLC                Counterparty
                                               J.P. Morgan Securities, Ltd.              Counterparty
                                               JP Morgan Chase & Co.                     Counterparty
                                               JP Morgan Chase Bank                      Counterparty
                                               JP Morgan Chase Bank, N.A.                Counterparty
103.   Key Government Finance Inc.             Alliance Capital Management, L.P.         Investment
104.   Koch Energy Svc                         Deerfield Partners LP                     Investment
       Koch Supply & Trading LP
105.   KPMG LLP                                KPMG LLP                                  Vendor




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       Interested Party Name                    MIO Connection Name                           Connection Type
                                                Blackstone/GSO Strategic Credit Fund          Investment
                                                The Blackstone Group, L.P.                    Investment
106.   Level 3 Communications LLC               Level 3                                       Vendor
107.   Lexington Insurance Company              AIG-related Securities                        Investment
                                                Flagstone Reinsurance Holdings Limited        Investment
                                                Illinois National Insurance Company (AIG)     Vendor
                                                United States Life Insurance Company in the   Vendor
                                                City of NY
108.   Littler Mendelson PC                     Vanguard FTSE Emerging Markets                Investment
                                                Vanguard Long-Term Bond ETF                   Investment
                                                Vanguard Real Estate ETF                      Investment
109.   Lloyds                                   Capital Economics                             Vendor
                                                Horizon Capital                               Investment
110.   MassMutual Asset Finance LLC             Murray Capital Management, Inc.               Investment
111.   Mayer Brown LLP                          Mayer Brown LLP                               Vendor
112.   McKinsey                                 McKinsey & Company, Inc.                      MIO Affiliate
                                                McKinsey & Company, Inc. Profit Sharing       MIO Affiliate
                                                Retirement Plan
                                                McKinsey & Company, Inc. Supplemental         MIO Affiliate
                                                Retirement Plan
                                                McKinsey & Co.                                MIO Affiliate
                                                McKinsey Master Retirement Trust              MIO Affiliate
                                                MIO Group, Inc.                               MIO Affiliate
                                                MIO Partners (EU) Limited                     MIO Affiliate
                                                MIO Partners, Inc.                            MIO Affiliate
                                                MIO-Partners (EU) GmbH                        MIO Affiliate
                                                New Stream Capital LLC                        Investment
                                                New Stream Secured Capital Fund (Cayman),     Investment
                                                Ltd.
                                                New Stream Secured Capital Fund (US) LLC      Investment
113.   Merrill Lynch                            Merrill Lynch                                 Counterparty
                                                Merrill Lynch, Pierce, Fenner & Smith         Vendor
                                                Incorporated
114.   Merrill Lynch Commodities Inc.           ABN AMRO Clearing Chicago LLC                 Counterparty



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       Interested Party Name                     MIO Connection Name                           Connection Type
                                                 Bank of America Merrill Lynch                 Counterparty
                                                 Bank of America, N.A.                         Counterparty
                                                 BofA Securities Inc.                          Counterparty
                                                 BofA Securities LLC                           Counterparty
                                                 BofA-related Securities                       Investment
                                                 Merrill Lynch                                 Counterparty
                                                 Merrill Lynch & Co., Inc.                     Counterparty
                                                 Merrill Lynch Capital Services, Inc.          Counterparty
                                                 Merrill Lynch Financial Markets, Inc.         Counterparty
                                                 Merrill Lynch Government Securities Inc.      Counterparty
                                                 and/or Merrill Lynch Pierce, Fenner & Smith
                                                 Inc.
                                                 Merrill Lynch International                   Counterparty
                                                 Merrill Lynch Professional Clearing Corp.     Counterparty
                                                 Merrill Lynch, Pierce, Fenner & Smith         Counterparty
                                                 Incorporated                                  Vendor
115.   Merrill Lynch Pierce Fenner & Smith       ABN AMRO Clearing Chicago LLC                 Counterparty
       Incorporated                              Bank of America Merrill Lynch                 Counterparty
                                                 Bank of America, N.A.                         Counterparty
                                                 BofA Securities Inc.                          Counterparty
                                                 BofA Securities LLC                           Counterparty
                                                 BofA-related Securities                       Investment
                                                 Merrill Lynch                                 Counterparty
                                                 Merrill Lynch & Co., Inc.                     Counterparty
                                                 Merrill Lynch Capital Services, Inc.          Counterparty
                                                 Merrill Lynch Financial Markets, Inc.         Counterparty
                                                 Merrill Lynch Government Securities Inc.      Counterparty
                                                 and/or Merrill Lynch Pierce, Fenner & Smith
                                                 Inc.
                                                 Merrill Lynch International                   Counterparty
                                                 Merrill Lynch Professional Clearing Corp.     Counterparty
                                                 Merrill Lynch, Pierce, Fenner & Smith         Counterparty
                                                 Incorporated                                  Vendor
116.   Midset Cogen Co                           IPM                                           Vendor


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       Interested Party Name                          MIO Connection Name                          Connection Type
117.   Mitsubishi Electric Power Products Inc.-       ADM Investor Services, Inc.                  Counterparty
       Substation Division
118.   Mizuho Bank Ltd                                EurekaHedge                                  Vendor
       Mizuho Corporate Bank Ltd
119.   Morgan Stanley Bank NA                         Morgan Stanley                               Counterparty
       Morgan Stanley Capital Group Inc.              Morgan Stanley & Co LLC                      Counterparty
       Morgan Stanley ISG Operations                  Morgan Stanley & Co. International Limited   Counterparty
       Morgan Stanley Senior Funding
                                                      Morgan Stanley & Co. International PLC       Counterparty
                                                      Morgan Stanley & Co. LLC                     Counterparty
                                                      Morgan Stanley Capital Services LLC          Counterparty
                                                      Morgan Stanley Securities Limited            Counterparty
                                                      Prime Dealer Services Corp.                  Counterparty
120.   MSD Capital LP                                 Cloudera, Inc.                               Vendor
       MSD Partners LP
121.   NASDAQ OMX Commodities Clearing -              eVestment (Strategic Financial Solutions,    Vendor
       Contract Merchant LLC                          LLC)
                                                      FINRA                                        Vendor
                                                      Nasdaq 100 Index                             Investment
                                                      PerTrac                                      Vendor
122.   National Fire Insurance of Hartford            Continental Casualty Company                 Vendor
123.   National Surety Corporation                    Industrial and Commercial Bank of China      Counterparty
                                                      Industrial and Commercial Bank of China      Counterparty
                                                      Financial Services LLC
                                                      Pacific Investment Management Company,       Investment
                                                      LLC
                                                      PIMCO                                        Investment
                                                      PIMCO Commodity Alpha Fund LLC               Investment
                                                      PIMCO Dynamic Credit                         Investment
                                                      PIMCO Global Inflation Linked Bond Fund      Investment
                                                      Ltd.
124.   National Union Fire Insurance Company of       AIG-related Securities                       Investment
       Pittsburgh Pa                                  Flagstone Reinsurance Holdings Limited       Investment
                                                      Illinois National Insurance Company (AIG)    Vendor




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       Interested Party Name                       MIO Connection Name                           Connection Type
                                                   United States Life Insurance Company in the   Vendor
                                                   City of NY
125.   Navigators Management Company Inc.          Hartford-related Securities                   Investment
       New York
126.   New Cingular Wireless PCS LLC               AT&T Mobility                                 Vendor
       New Cingular Wireless Services
127.   New Hampshire Insurance Company             AIG-related Securities                        Investment
                                                   Flagstone Reinsurance Holdings Limited        Investment
                                                   Illinois National Insurance Company (AIG)     Vendor
                                                   United States Life Insurance Company in the   Vendor
                                                   City of NY
128.   Nextel Communications                       Teem Technologies, Inc.                       Vendor
       Nextel of California Inca Delaware Corp
129.   Och-Ziff Capital Management Group LLC       Och-Ziff Capital Management Group             Investment
                                                   OZ Domestic Partners, L.P.                    Investment
130.   Pacific Bell Telephone Company              AT&T Mobility                                 Vendor
131.   Pacific Indemnity Company                   Chubb Bermuda Insurance Ltd                   Vendor
132.   Pacific Investment Management Company       Industrial and Commercial Bank of China       Counterparty
       LLC                                         Industrial and Commercial Bank of China       Counterparty
                                                   Financial Services LLC
                                                   Pacific Investment Management Company,        Investment
                                                   LLC
                                                   PIMCO                                         Investment
                                                   PIMCO Commodity Alpha Fund LLC                Investment
                                                   PIMCO Dynamic Credit                          Investment
                                                   PIMCO Global Inflation Linked Bond Fund       Investment
                                                   Ltd.
133.   Pacific Life Insurance Company              ACG Management Pte Ltd                        Investment
134.   Paul Weiss Rifkind Wharton & Garrison       Paul, Weiss, Rifkind, Wharton & Garrison      Vendor
       LLP                                         LLP
135.   PFL Futures Limited                         CME Third Party Services                      Counterparty
                                                   ENSO Financial Management LLP                 Vendor
                                                   ICAP Electronic Broking LLC                   Counterparty
                                                   Tri-Optima                                    Vendor
136.   Praetorian Insurance Company                QBE Insurance Corporation                     Vendor


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       Interested Party Name                     MIO Connection Name                       Connection Type
137.   Prebon Energy Inc.                        Tullett Prebon Group Ltd                  Vendor
138.   Presidio Systems Inc.                     Presidio                                  Vendor
139.   PricewaterhouseCoopers LLP                Infotech Global, Inc.                     Vendor
                                                 PricewaterhouseCoopers LLP                Vendor
                                                 PWC                                       Vendor
140.   Property and Casualty Insurance Company   Hartford-related Securities               Investment
       of Hartford
141.   Proskauer Rose LLP                        Proskauer Rose LLP                        Vendor
142.   QBE Americas Inc.                         QBE Insurance Corporation                 Vendor
       QBE Insurance Corporation
       QBE Specialty Insurance Company
143.   RBC Capital Markets                       ABN AMRO Clearing Chicago LLC             Counterparty
                                                 RBC (Barbados) Trading Bank Corporation   Counterparty
                                                 RBC Capital Markets                       Counterparty
                                                 RBC Capital Markets, LLC                  Counterparty
                                                 RBC Europe Limited                        Counterparty
                                                 Royal Bank of Canada                      Counterparty
144.   Regent Insurance Company                  QBE Insurance Corporation                 Vendor
145.   Ropes & Gray LLP                          Ropes & Gray LLP                          Vendor
146.   Rothschild                                Rothschild Inc.                           Counterparty
147.   Royal Bank of Canada                      ABN AMRO Clearing Chicago LLC             Counterparty
                                                 RBC (Barbados) Trading Bank Corporation   Counterparty
                                                 RBC Capital Markets                       Counterparty
                                                 RBC Capital Markets, LLC                  Counterparty
                                                 RBC Europe Limited                        Counterparty
                                                 Royal Bank of Canada                      Counterparty
148.   Royal Bank of Scotland                    The Royal Bank of Scotland PLC            Counterparty
       Royal Bank of Scotland PLC
149.   Russelectric Inc.                         Cerberus Capital Management LLC           Investment
                                                 Cerberus International, Ltd.              Investment
                                                 Cerberus Partners, L.P.                   Investment
150.   Salinas River Cogen Co                    IPM                                       Vendor
       Sargent Canyon Cogeneration Company




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       Interested Party Name                       MIO Connection Name                      Connection Type
151.   Sidley Austin                               Sidley Austin LLP                        Vendor
152.   Siemens Energy Inc. Fossil Services Power   Cerberus Capital Management LLC          Investment
       Generation                                  Cerberus International, Ltd.             Investment
       Siemens Industry Inc.
                                                   Cerberus Partners, L.P.                  Investment
153.   Sodexo Inc.                                 Sodexo Operations                        Vendor
154.   Southern California Edison Company          IPM                                      Vendor
155.   Southwestern Bell Telephone LP              AT&T Mobility                            Vendor
156.   Sprint                                      Teem Technologies, Inc.                  Vendor
157.   Star Insurance Company                      Hauck & Aufhäuser                        Counterparty
158.   Steadfast Insurance Company                 Zurich American Insurance Company        Vendor
159.   Strategic Value Partners, LLC               Strategic Value Partners, LLC            Investment
                                                   Strategic Value Global Opportunities     Investment
                                                   Fund
                                                   Strategic Value Restructuring Fund LP    Investment
                                                   Strategic Value Restructuring Fund Ltd   Investment
160.   Stroock & Stroock & Lavan LLP               Stroock & Stroock                        Vendor
161.   Sun City Project LLC                        Diligent                                 Vendor
162.   T Rowe Price Associates Inc.                Atlassian                                Vendor
163.                                               Cloudera, Inc.                           Vendor
164.   TALX Corp                                   Johnson Associates, Inc.                 Vendor
165.   TD Bank NA                                  TD Securities (USA) LLC                  Counterparty
       Td Energy Trading Inc.                      The Toronto-Dominion Bank                Counterparty
       TD Securities
166.   The Bank of New York Trust Company          Bank of New York                         Counterparty
       NA                                          The Bank of New York Mellon              Counterparty
167.   The Goldman Sachs Group, Inc.               Centaurus Advisors LLC                   Investment
                                                   FIS Investment Systems, LLC (formerly    Vendor
                                                   Sungard)
                                                   Genesis Capital                          Investment
                                                   Goldman Sachs & Co. LLC                  Counterparty
                                                   Goldman Sachs & Company                  Investment
                                                   Goldman Sachs Bank USA                   Counterparty
                                                   Goldman Sachs International              Counterparty



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       Interested Party Name                       MIO Connection Name                           Connection Type
                                                   Goldman, Sachs & Co.                          Counterparty
                                                   Industrial and Commercial Bank of China       Counterparty
                                                   Industrial and Commercial Bank of China       Counterparty
                                                   Financial Services LLC
                                                   The Goldman Sachs Group, Inc.                 Counterparty
168.   The Insurance Company of the State of       AIG-related Securities                        Investment
       Pennsylvania                                Flagstone Reinsurance Holdings Limited        Investment
                                                   Illinois National Insurance Company (AIG)     Vendor
                                                   United States Life Insurance Company in the   Vendor
                                                   City of NY
169.   The Vanguard Group Inc.                     Vanguard FTSE Emerging Markets                Investment
                                                   Vanguard Long-Term Bond ETF                   Investment
                                                   Vanguard Real Estate ETF                      Investment
170.   ThyssenKrupp Elevator Corporation           TMX                                           Vendor
171.   TKO Power                                   Cogent Energy                                 Investment
172.   Toronto Dominion Bank                       TD Securities (USA) LLC                       Counterparty
                                                   The Toronto-Dominion Bank                     Counterparty
173.   TPG Sixth Street Partners LLC               McAfee                                        Vendor
174.   Transportation Insurance Company            Continental Casualty Company                  Vendor
175.   Trumbull Insurance Company                  Hartford-related Securities                   Investment
176.   Tudor Insurance Company                     AIG-related Securities                        Investment
                                                   Flagstone Reinsurance Holdings Limited        Investment
                                                   Illinois National Insurance Company (AIG)     Vendor
                                                   United States Life Insurance Company in the   Vendor
                                                   City of NY
177.   Tullet Liberty                              Tullett Prebon Group Ltd                      Vendor
178.   Twin City Fire Insurance Company            Hartford-related Securities                   Investment
179.   Ubiquitel LLC                               Teem Technologies, Inc.                       Vendor
180.   UBS AG                                      Julius Baer Asset Management                  Investment
       UBS Investment Bank                         UBS AG                                        Counterparty
       UBS Securities                              UBS AG London                                 Counterparty
                                                   UBS AG Zurich                                 Counterparty
                                                   UBS Europe SE                                 Counterparty




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       Interested Party Name                       MIO Connection Name                           Connection Type
                                                   UBS Securities LLC                            Counterparty
181.   Unigard Insurance Company                   QBE Insurance Corporation                     Vendor
182.   United Services Automobile Association      USAA Investment Management Company            Investment
                                                   USAA Tax-Exempt Short-Term Fund               Investment
183.   United States of America                    United States Government Securities           Investment
184.   USAA Casualty Insurance Company             USAA Investment Management Company            Investment
       USAA General Indemnity Company              USAA Tax-Exempt Short-Term Fund               Investment
185.   Validus Reinsurance Limited                 AIG-related Securities                        Investment
                                                   Flagstone Reinsurance Holdings Limited        Investment
                                                   Illinois National Insurance Company (AIG)     Vendor
                                                   United States Life Insurance Company in the   Vendor
                                                   City of NY
186.   Valley Forge Insurance Company              Continental Casualty Company                  Vendor
187.   Verizon                                     Verizon                                       Vendor
       Verizon Wireless
188.   Vigilant Insurance Company                  Chubb Bermuda Insurance Ltd                   Vendor
189.   Wachovia Corporate Services Inc.            Cantor Fitzgerald & Co.                       Counterparty
       Wells Fargo & Company                       Delaware Trust Company                        Counterparty
       Wells Fargo Bank National Association       The Toronto-Dominion Bank                     Counterparty
       Wells Fargo Bank, Ltd.
                                                   Wachovia Bank, N.A.                           Counterparty
       Wells Fargo Securities LLC
                                                   Wells Fargo Securities International          Counterparty
                                                   Wells Fargo Securities, LLC                   Counterparty
190.   Westchester Fire Insurance Company          Chubb Bermuda Insurance Ltd                   Vendor
       Westchester Surplus Lines Insurance
       Company
191.   Western Asset Management Company            Entrust Securing Digital Identities &         Vendor
                                                   Information
                                                   QS Investors                                  Investment
                                                   QS Investors, LLC                             Investment
192.   Western World Insurance Company             AIG-related Securities                        Investment
                                                   Flagstone Reinsurance Holdings Limited        Investment
                                                   Illinois National Insurance Company           Vendor
                                                   Illinois National Insurance Company (AIG)     Vendor




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       Interested Party Name                     MIO Connection Name                           Connection Type
                                                 United States Life Insurance Company in the   Vendor
                                                 City of NY
193.   White & Case                              White & Case LLP                              Vendor
194.   Whitebox Multi-Strategy Partners LP       Whitebox Advisors, LLC                        Investment
                                                 Whitebox Multi-Strategy Fund                  Investment
                                                 Whitebox Pandora Select Fund                  Investment
195.   Wood Group USA Inc.– Upstream and         QED Resources, Inc.                           Vendor
       Midstream Engineering
196.   XL Insurance America Inc.                 AXA-related Securities                        Investment
       XL Insurance Company
       XL Specialty Insurance Company
197.   Zayo Group Holdings Inc.                  Zayo                                          Vendor
       Zayo Group LLC
198.   Zurich American Insurance Company         Zurich American Insurance Company             Vendor
       Zurich Insurance Company Ltd




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